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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, Case No. l:O7-CV-l 144 (PLF)

Plaintiff, Hon. Paul L. Friedman
v.

TOYOBO COMPANY, LTD., §t_a_l.,

Defendants.

VV\'/VVV\./VVV\-/

 

JUDGMENT OF DISMISSAL OF DEFENDANTS TOYOBO CO.,
LTD. AND TOYOBO U.S.A., INC. f/k/a TOYOBO AMERICA, INC.
PURSUANT TO FED. R_.L CIV. PROC. 41(a 1 A 1 II

PURSUANT TO THE STIPULATION OF THE UNITED STATES AND
DEFENDANTS TOYOBO CO., LTD. AND TOYOBO U.S.A., INC. f/k/a TOYOBO
AMERICA, INC., and for good cause appearing,

l. The United States’ claims against Toyobo CO., Ltd. and Toyobo U.S.A., Inc. f/k/a

Toyobo America, Inc. shall be dismissed With prejudice according to the terms of

the Settlement Agreement between the United States and Toyobo Co., Ltd. and

Toyobo U.S.A., Inc. f/k/a Toyobo America, Inc.; and

2. - This judgment of dismissal shall have no impact on any defendants in the related
actions.
IT IS SO ORDERED.

Dated:

 

The Honorable Paul L. Friedman
United States District Judge

